   3:20-cv-04056-MGL-SVH            Date Filed 07/15/22     Entry Number 63        Page 1 of 3




                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF SOUTH CAROLINA
                                 COLUMBIA DIVISION


 Gary Washington,                                    C/A No. 3:20-cv-04056-MGL-SVH

                            Plaintiff,

              v.


 Continental Tire the Americas, LLC,

                            Defendant.


                   DEFENDANT’S MOTION FOR SUMMARY JUDGMENT

       Defendant Continental Tire the Americas, LLC (“Defendant” or “Continental”), by

counsel, and pursuant to Rule 56 of the Federal Rules of Civil Procedure (“Fed. R. Civ. P.”), hereby

moves this Court to enter an order granting summary judgment against Plaintiff Gary Washington

(“Washington” or “Plaintiff”) on all claims in the Second Amended Complaint filed by Plaintiff

on May 3, 20211, and dismissing this action in full, with prejudice.

       As demonstrated more fully in the Memorandum in Support of Defendant’s Motion for

Summary Judgment, which Defendant is filing contemporaneously with this Motion and

incorporates herein by reference pursuant to Fed. R. Civ. P. 10(c), summary judgment is proper on

multiple grounds. As a threshold issue, Plaintiff is judicially estopped from asserting his claims

against Continental arising under the Family and Medical Leave Act (“FMLA”) and the Age

Discrimination in Employment Act of 1967 (“ADEA”) because he failed to disclose them to the



       1
        Pursuant to Fed. R. Civ. P. 15(a)(1), Plaintiff filed an Amended Complaint with this
Court on January 27, 2021, once as a matter of course, and on February 1, 2021, requested that
Continental waive service of process. Subsequently, Plaintiff sought relief from the Court to file
his Second Amended Complaint.
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   3:20-cv-04056-MGL-SVH             Date Filed 07/15/22     Entry Number 63       Page 2 of 3




court as required in his Chapter 13 bankruptcy petition. Even if Plaintiff were not judicially

estopped from asserting his claims under the FMLA and ADEA, which he is, the record of this

matter demonstrates that Plaintiff cannot state a claim for age discrimination under the ADEA or

retaliation under the FMLA and his claims fail as a matter of law. No genuine issues of material

fact exist and Defendant is entitled to summary judgment as a matter of law on all of Plaintiff’s

claims.

          Based on the foregoing, Defendant Continental, by counsel, respectfully requests this

Court to enter an Order granting its Motion for Summary Judgment; dismissing Plaintiff’s

Second Amended Complaint, with prejudice, pursuant to Fed. R. Civ. P. 56; awarding it its costs

and reasonable attorneys’ fees; and awarding it such further relief as the Court deems just and

proper.

          Dated this the 15th day of July 2022.

                                           By:      /s/ T. Richmond McPherson, III
                                                   T. Richmond McPherson, III
                                                   (Fed. Bar No. 11214)
                                                   rmcpherson@mcguirewoods.com
                                                   Meredith A. Pinson (admitted pro hac vice)
                                                   (N.C. Bar No. 39990)
                                                   mpinson@mcguirewoods.com
                                                   MCGUIREWOODS LLP
                                                   201 North Tryon Street, Suite 3000
                                                   Charlotte, North Carolina 28202
                                                   Tel. (704) 343-2038
                                                   Fax. (704) 444-8783

                                                   ATTORNEYS FOR DEFENDANT




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   3:20-cv-04056-MGL-SVH           Date Filed 07/15/22      Entry Number 63       Page 3 of 3




                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF SOUTH CAROLINA
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 Gary Washington,                                      C/A No. 3:20-cv-04056-MGL-SVH

                           Plaintiff,

              v.


 Continental Tire the Americas, LLC,

                           Defendant.


                                CERTIFICATE OF SERVICE

       I hereby certify that on July 15, 2022, I filed electronically the foregoing document with

the Clerk of Court using the CM/ECF system. Notice of Filing will be sent to all counsel of record,

including counsel for Plaintiff below, by operation of the Court’s electronic filing system as

follows:


       William L. Runyon, Jr.
       William L. Runyon, Jr. Law Office
       3 Gamecock Avenue, #303
       Charleston, South Carolina 29407
       runyonwilliamjr1@bellsouth.net
       843-571-3515 (phone)

       Amber C. Robinson, Esq.
       Robinson Law Office PLLC
       360 Central Avenue Ste. 800
       St. Petersburg, FL 33701
       arobinson@arobinsonlawfirm.com
       arobinsonlawfirm@gmail.com
       813-613-2400 (phone)
       727-362-1979 (fax)

                                             /s/ T. Richmond McPherson, III
                                              T. Richmond McPherson, III (Fed. ID #11214)

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